EXHIBIT 3
                  UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                        MARSHALL DIVISION


SOLAS OLED LTD.,

                                   Plaintiff,       Case No. 2:19-cv-00152-JRG

          v.

SAMSUNG DISPLAY CO., LTD., et al.,

                                   Defendants.



   PLAINTIFF SOLAS OLED LIMITED’S FIRST AMENDED
 DISCLOSURE OF ASSERTED CLAIMS AND INFRINGEMENT
                   CONTENTIONS

      Pursuant to P.R. 3-1 and P.R. 3-2, patent owner Solas OLED Limited hereby

provides its first amended disclosure of asserted claims and infringement conten-

tions and its accompanying document production. This disclosure is based on the

information available to Solas as of the date of this disclosure, before Solas has re-

ceived any discovery on the design or operation of the defendants’ products. Solas

reserves the right to amend this disclosure to the full extent permitted under the

court’s rules and orders.

I.        P.R. 3-1: DISCLOSURE OF ASSERTED CLAIMS AND
          INFRINGEMENT CONTENTIONS

     A.        P.R. 3-1(a): Asserted Claims

      Solas asserts that defendants Samsung Display Co., Ltd.; Samsung Electronics

America, Inc.; and Samsung Electronics Co., Ltd. (collectively “Samsung”) infringe

one or more of the following claims, directly, by inducement, by contributory in-

fringement:


                                           1
                  U.S. Patent No.               Asserted Claims

                    6,072,450              1, 4–6, 8, 12, 13, 15, 16

                    7,446,338                   1, 5, 6, 9, 10

                    9,256,311         1, 2, 4–8, 10–13, 15, 16, 18–20

     Collectively, these three patents are referred to herein as the Asserted Patents,

and these claims as the Asserted Claims.

   B.        P.R. 3-1(b): Accused Instrumentalities of Which Solas Is
             Aware

     In this section, Solas provides lists of accused products that Solas is aware of

infringing based upon information presently available to it and its investigation to

date. Solas’s infringement claims are not limited to these listed products and specif-

ically extend to all products and apparatuses of Samsung similar to the listed prod-

ucts that include the claimed elements. Unless otherwise stated, Solas’s

infringement assertion apply to all variations, versions, editions, and applications of

each of the listed products.

        1.      U.S. Patent No. 6,072,450

     Solas accuses the following Samsung products that it is presently aware of in-

fringing each of the Asserted Claims of the ’450 patent:

                       Samsung Galaxy S4
                       Samsung Galaxy S5
                       Samsung Galaxy S6
                       Samsung Galaxy S6 Edge
                       Samsung Galaxy S6 Edge+
                       Samsung Galaxy S7
                       Samsung Galaxy S7 Edge
                       Samsung Galaxy S8
                       Samsung Galaxy S8+
                       Samsung Galaxy Note 3
                       Samsung Galaxy Note 3 Neo
                       Samsung Galaxy Note 4


                                           2
                       Samsung Galaxy Note Edge
                       Samsung Galaxy Note 5
                       Samsung Galaxy Note 7
                       Samsung Galaxy Note 8

     In addition, Solas accuses the Organic Light-Emitting Diode (OLED) displays

made and sold by Samsung and utilized in the following third-party products that

it is presently aware of infringing each of the Asserted Claims of the ’450 patent:

                       Apple MacBook Pro with OLED Touch Bar
                       Dell Venue 8 7000 series
                       Sony PlayStation VR

     The Samsung products—and the Samsung displays contained in the third-

party products—in the preceding two lists; all variations, editions, and applications

of the foregoing; and all products and apparatuses of Samsung similar to the fore-

going that include the claimed elements are the ’450 Accused Instrumentalities.

       2.      U.S. Patent No. 7,446,338

     Solas accuses the following Samsung products that it is presently aware of in-

fringing each of the Asserted Claims of the ’338 patent:

                       Samsung Galaxy S4
                       Samsung Galaxy S8
                       Samsung Galaxy S8+
                       Samsung Galaxy S9
                       Samsung Galaxy S9+
                       Samsung Galaxy S10
                       Samsung Galaxy S10+
                       Samsung Galaxy S10e
                       Samsung Galaxy S10 5G
                       Samsung Galaxy Note 8
                       Samsung Galaxy Note 9
                       Samsung Galaxy Note 10
                       Samsung Galaxy Note 10+
                       Samsung Galaxy S20
                       Samsung Galaxy S20+
                       Samsung Galaxy S20 Ultra
                       Samsung Galaxy Z Flip



                                          3
     In addition, Solas accuses the Organic Light-Emitting Diode (OLED) displays

made and sold by Samsung and utilized in the following third-party products that

it is presently aware of infringing each of the Asserted Claims of the ’338 patent:

                       Apple iPhone X
                       Apple iPhone XS
                       Apple iPhone XS Max
                       Apple iPhone 11 Pro
                       Apple iPhone 11 Pro Max

     The Samsung products—and the Samsung displays contained in the third-

party products—in the preceding two lists; all variations, editions, and applications

of the foregoing; and all products and apparatuses of Samsung similar to the fore-

going that include the claimed elements are the ’338 Accused Instrumentalities.

       3.      U.S. Patent No. 9,256,311

     Solas accuses the following Samsung products that it is presently aware of in-

fringing each of the Asserted Claims of the ’311 patent:

                       Samsung Galaxy S6 Edge
                       Samsung Galaxy S6 Edge+
                       Samsung Galaxy S7 Edge
                       Samsung Galaxy S8
                       Samsung Galaxy S8+
                       Samsung Galaxy S9
                       Samsung Galaxy S9+
                       Samsung Galaxy S10
                       Samsung Galaxy S10+
                       Samsung Galaxy S10e
                       Samsung Galaxy S10 5G
                       Samsung Galaxy Note 8
                       Samsung Galaxy Note 9
                       Samsung Galaxy Note 10
                       Samsung Galaxy Note 10+
                       Samsung Galaxy S20
                       Samsung Galaxy S20+
                       Samsung Galaxy S20 Ultra
                       Samsung Galaxy Z Flip



                                          4
     The Samsung products—and the Samsung displays contained in the third-

party products—in the preceding two lists; all variations, editions, and applications

of the foregoing; and all products and apparatuses of Samsung similar to the fore-

going that include the claimed elements are the ’311 Accused Instrumentalities.

The ’450 Accused Instrumentalities, ’338 Accused Instrumentalities, and ’311 Ac-

cused Instrumentalities collectively are the Accused Instrumentalities.

   C.      P.R. 3-1(c): Claim Charts

     Solas’s analysis of Samsung’s products and apparatuses is based upon infor-

mation that is publicly available and based on Solas’s own investigation prior to any

discovery in this action.

     While the publicly available information constitutes evidence of the methods

and apparatuses used by Solas in the Accused Instrumentalities, direct evidence of

the actual apparatuses and methods are at times not publicly available. Accordingly,

these infringement contentions are based on the available public information, la-

boratory analysis and reasonable inferences drawn from that information.

     Solas reserves the right to amend or supplement these disclosures for any of

the following reasons (along with any other reason that may be permitted under the

court’s rules and orders):

     (1) Samsung provides evidence of the apparatuses and methods used in the

        Accused Instrumentalities;

     (2) The Asserted Claims may include elements that involve features that are

        implemented by hardware structures and logic and Solas’s current posi-




                                         5
        tions on infringement are set forth without the benefit of access to Defend-

        ant’s source code, schematics, drawings, or other proprietary specifications

        or information, which cannot be obtained through publicly available infor-

        mation, for the Accused Instrumentalities. Therefore, it may be necessary

        for Solas to supplement its positions on infringement after a complete pro-

        duction of such proprietary specifications or information by Samsung;

     (3) Solas’s position on infringement of specific claims will depend on the claim

        constructions adopted by the Court. Because said constructions have not

        yet occurred, Solas cannot take a final position on the bases for infringe-

        ment of the Asserted Claims; and

     (4) Solas’s investigation and analysis of Samsung’s Accused Instrumentalities

        are based upon information made publicly available by Samsung and by

        Solas’s own investigations. Solas reserves the right to amend these conten-

        tions based upon discovery of non-public information that Solas anticipates

        receiving from Samsung during discovery.

     Attached as Exhibits A through C, and incorporated herein in their entirety,

are charts identifying where each element of the Asserted Claims of the ’450, ’338,

and ’311 patents are found in the Accused Instrumentalities.

     Unless otherwise indicated, the information provided that corresponds to each

claim element is considered to indicate that each claim element is found within each

of the different variations, versions, editions, and applications of each respective

Accused Instrumentalities.




                                         6
      D.     P.R. 3-1(d): Literal Infringement and Doctrine of Equivalents

       With respect to the patents at issue, Solas contends that each element of each

Asserted Claim is literally present. In the alternative, Solas contends that certain

elements are present under the doctrine of equivalents, as set forth in its P.R. 3-1(c)

claim charts. To the extent that Samsung identifies elements of the Asserted Claims

that it contends are not literally present in the Accused Instrumentalities, Solas con-

tends that such elements are present under the doctrine of equivalents.

      E.     P.R. 3-1(e): Priority Dates

                     U.S. Patent No.                Priority Date

                       6,072,450                November 28, 1996

                       7,446,338                September 29, 2004

                       9,256,311                 October 28, 2011

      F.     P.R. 3-1(f): Identification of Instrumentalities Practicing the
             Claimed Invention

       Solas does not presently assert that its own apparatuses, products, devices, pro-

cesses, methods, acts, or other instrumentalities practice the claimed inventions. So-

las reserves the right to supplement this response should further investigation,

discovery, or the court’s claim construction rulings make such supplementation ap-

propriate.

II.        P.R. 3-2: DOCUMENT PRODUCTION ACCOMPANYING
           DISCLOSURE

      A.     P.R. 3-2(a) Documents

       Solas is presently unaware of any documents that evidence any discussion with,

disclosure to, or other manner of providing to a third party, or sale of or offer to




                                            7
sell, any of the inventions claimed in the asserted patents prior to their respective

application dates.

     A diligent search continues for documents, and Solas reserves the right to sup-

plement this response.

   B.      P.R. 3-2(b) Documents

     Solas is presently unaware of any documents that evidence the conception,

reduction to practice, design, or development of the claimed inventions, which were

created on or before the application dates of the’450 or ’338 patents or their re-

spective priority dates identified pursuant to P.R. 3-1(e).

     Solas is presently aware that certain documents exist which evidence the con-

ception, reduction to practice, design, or development of the claimed inventions of

the ’311 patent and which were created on or before the application dates of

the ’311 patent. These documents include at least documents produced in this case

bearing the following Bates numbers:

 SOLAS_SAMSUNG_0003750-
 SOLAS_SAMSUNG_0003752;YILMAZ_00000017-YILMAZ_00000019
 SOLAS_SAMSUNG_0003754;YILMAZ_00000020
 SOLAS_SAMSUNG_0003753;YILMAZ_00000021
 SOLAS_SAMSUNG_0005660-
 SOLAS_SAMSUNG_0005664;YILMAZ_00000166-YILMAZ_00000170
 SOLAS_SAMSUNG_0005665;YILMAZ_00000171
 SOLAS_SAMSUNG_0005577;YILMAZ_00000083
 SOLAS_SAMSUNG_0005578;YILMAZ_00000084
 SOLAS_SAMSUNG_0005808-
 SOLAS_SAMSUNG_0005821;YILMAZ_00000403-YILMAZ_00000416
 SOLAS_SAMSUNG_0005597-
 SOLAS_SAMSUNG_0005598;YILMAZ_00000103-YILMAZ_00000104
 SOLAS_SAMSUNG_0005599-
 SOLAS_SAMSUNG_0005613;YILMAZ_00000105-YILMAZ_00000119
 SOLAS_SAMSUNG_0005517;YILMAZ_00000022
 SOLAS_SAMSUNG_0005518-
 SOLAS_SAMSUNG_0005576;YILMAZ_00000023-YILMAZ_00000081


                                          8
SOLAS_SAMSUNG_0005683-
SOLAS_SAMSUNG_0005698;YILMAZ_00000193-YILMAZ_00000208
SOLAS_SAMSUNG_0005754-
SOLAS_SAMSUNG_0005764;YILMAZ_00000349-YILMAZ_00000359
SOLAS_SAMSUNG_0005769-
SOLAS_SAMSUNG_0005773;YILMAZ_00000364-YILMAZ_00000368
SOLAS_SAMSUNG_0005765-
SOLAS_SAMSUNG_0005768;YILMAZ_00000360-YILMAZ_00000363
SOLAS_SAMSUNG_0005774-
SOLAS_SAMSUNG_0005779;YILMAZ_00000369-YILMAZ_00000374
SOLAS_SAMSUNG_0005579-
SOLAS_SAMSUNG_0005583;YILMAZ_00000085-YILMAZ_00000089
SOLAS_SAMSUNG_0005584-
SOLAS_SAMSUNG_0005596;YILMAZ_00000090-YILMAZ_00000102
SOLAS_SAMSUNG_0005614-
SOLAS_SAMSUNG_0005616;YILMAZ_00000120-YILMAZ_00000122
SOLAS_SAMSUNG_0005617-
SOLAS_SAMSUNG_0005631;YILMAZ_00000123-YILMAZ_00000137
SOLAS_SAMSUNG_0005632-
SOLAS_SAMSUNG_0005659;YILMAZ_00000138-YILMAZ_00000165
SOLAS_SAMSUNG_0005666-
SOLAS_SAMSUNG_0005676;YILMAZ_00000172-YILMAZ_00000182
SOLAS_SAMSUNG_0005679-
SOLAS_SAMSUNG_0005682;YILMAZ_00000185-YILMAZ_00000188
SOLAS_SAMSUNG_0005677;YILMAZ_00000183
SOLAS_SAMSUNG_0005678;YILMAZ_00000184
SOLAS_SAMSUNG_0005780-
SOLAS_SAMSUNG_0005782;YILMAZ_00000375-YILMAZ_00000377
SOLAS_SAMSUNG_0005699-
SOLAS_SAMSUNG_0005700;YILMAZ_00000209-YILMAZ_00000210
SOLAS_SAMSUNG_0005718-
SOLAS_SAMSUNG_0005721;YILMAZ_00000268-YILMAZ_00000271
SOLAS_SAMSUNG_0005745;YILMAZ_00000336
YILMAZ_00000327-YILMAZ_00000334
SOLAS_SAMSUNG_0005717;YILMAZ_00000264
SOLAS_SAMSUNG_0005703-
SOLAS_SAMSUNG_0005707;YILMAZ_00000213-YILMAZ_00000217
SOLAS_SAMSUNG_0005735-
SOLAS_SAMSUNG_0005736;YILMAZ_00000309-YILMAZ_00000310
SOLAS_SAMSUNG_0005722-
SOLAS_SAMSUNG_0005734;YILMAZ_00000272-YILMAZ_00000284
YILMAZ_00000262-YILMAZ_00000263
SOLAS_SAMSUNG_0005708-
SOLAS_SAMSUNG_0005716;YILMAZ_00000253-YILMAZ_00000261




                           9
SOLAS_SAMSUNG_0005737-
SOLAS_SAMSUNG_0005740;YILMAZ_00000311-YILMAZ_00000314
SOLAS_SAMSUNG_0005742;YILMAZ_00000316
SOLAS_SAMSUNG_0005741;YILMAZ_00000315
SOLAS_SAMSUNG_0005743;YILMAZ_00000317
YILMAZ_00000267
SOLAS_SAMSUNG_0005744;YILMAZ_00000335
YILMAZ_00000323-YILMAZ_00000326
YILMAZ_00000337-YILMAZ_00000340
YILMAZ_00000291-YILMAZ_00000308
YILMAZ_00000218-YILMAZ_00000237
YILMAZ_00000246-YILMAZ_00000251
YILMAZ_00000252
YILMAZ_00000238-YILMAZ_00000245
YILMAZ_00000266
SOLAS_SAMSUNG_0005701-
SOLAS_SAMSUNG_0005702;YILMAZ_00000211-YILMAZ_00000212
YILMAZ_00000320-YILMAZ_00000322
YILMAZ_00000285-YILMAZ_00000290
YILMAZ_00000265
YILMAZ_00000318-YILMAZ_00000319
SOLAS_SAMSUNG_0005783-
SOLAS_SAMSUNG_0005784;YILMAZ_00000378-YILMAZ_00000379
SOLAS_SAMSUNG_0005796;YILMAZ_00000391
SOLAS_SAMSUNG_0005797;YILMAZ_00000392
SOLAS_SAMSUNG_0005802;YILMAZ_00000397
SOLAS_SAMSUNG_0005804;YILMAZ_00000399
SOLAS_SAMSUNG_0005798;YILMAZ_00000393
SOLAS_SAMSUNG_0005795;YILMAZ_00000390
SOLAS_SAMSUNG_0005801;YILMAZ_00000396
SOLAS_SAMSUNG_0005794;YILMAZ_00000389
SOLAS_SAMSUNG_0005807;YILMAZ_00000402
SOLAS_SAMSUNG_0005800;YILMAZ_00000395
SOLAS_SAMSUNG_0005799;YILMAZ_00000394
SOLAS_SAMSUNG_0005793;YILMAZ_00000388
SOLAS_SAMSUNG_0005785;YILMAZ_00000380
SOLAS_SAMSUNG_0005805;YILMAZ_00000400
SOLAS_SAMSUNG_0005806;YILMAZ_00000401
SOLAS_SAMSUNG_0005787-
SOLAS_SAMSUNG_0005788;YILMAZ_00000382-YILMAZ_00000383
SOLAS_SAMSUNG_0005786;YILMAZ_00000381
SOLAS_SAMSUNG_0005790;YILMAZ_00000385
SOLAS_SAMSUNG_0005803;YILMAZ_00000398
SOLAS_SAMSUNG_0005789;YILMAZ_00000384
SOLAS_SAMSUNG_0005791;YILMAZ_00000386


                           10
 SOLAS_SAMSUNG_0005792;YILMAZ_00000387
 SOLAS_SAMSUNG_0005746-
 SOLAS_SAMSUNG_0005749;YILMAZ_00000341-YILMAZ_00000344
 SOLAS_SAMSUNG_0005750-
 SOLAS_SAMSUNG_0005753;YILMAZ_00000345-YILMAZ_00000348
 YILMAZ_00000015
 YILMAZ_00000016
 YILMAZ_00000014
 YILMAZ_00000001
 YILMAZ_00000002-YILMAZ_00000006
 YILMAZ_00000011-YILMAZ_00000013
 YILMAZ_00000007-YILMAZ_00000010


    A diligent search continues for documents, and Solas reserves the right to sup-

plement this response.

   C.      P.R. 3-2(c) Documents

    The file histories for the ’338 and ’311 patents may be found in Solas’s pro-

duction at SOLAS_SAMSUNG_0000001–SOLAS_SAMSUNG_0000970. The

file history for the ’450 patent may be found in Solas’s production at

SOLAS_SAMSUNG_0000971-SOLAS_SAMSUNG_0001338.


Dated: March 12, 2020                        /s/ Reza Mirzaie
                                            Marc Fenster
                                            CA State Bar No. 181067
                                            Reza Mirzaie
                                            CA State Bar No. 246953
                                            Neil A. Rubin
                                            CA State Bar No. 250761
                                            Kent N. Shum
                                            CA State Bar No. 259189
                                            RUSS AUGUST & KABAT
                                            12424 Wilshire Boulevard, 12th Floor
                                            Los Angeles, CA 90025
                                            Telephone: 310-826-7474
                                            Email: mfenster@raklaw.com
                                            Email: rmirzaie@raklaw.com
                                            Email: nrubin@raklaw.com
                                            Email: kshum@raklaw.com


                                       11
     Sean A. Luner
     CA State Bar No. 165443
     Gregory S. Dovel
     CA State Bar No. 135387
     Jonas B. Jacobson
     CA State Bar No. 269912
     DOVEL & LUNER, LLP
     201 Santa Monica Blvd., Suite 600
     Santa Monica, CA 90401
     Telephone: 310-656-7066
     Email: sean@dovel.com
     Email: greg@dovel.com
     Email: jonas@dovel.com

     T. John Ward, Jr.
     TX State Bar No. 00794818
     Claire Abernathy Henry
     TX State Bar No. 24053063
     Andrea L. Fair
     TX State Bar No. 24078488
     WARD, SMITH & HILL, PLLC
     PO Box 1231
     Longview, Texas 75606
     Telephone: 903-757-6400
     Email: jw@wsfirm.com
     Email: claire@wsfirm.com
     Email: andrea@wsfirm.com

     ATTORNEYS
     FOR PLAINTIFF,
     SOLAS OLED LTD.




12
                         CERTIFICATE OF SERVICE

       The undersigned certifies that on March 12, 2020, all counsel of record

who are deemed to have consented to electronic service are being served with a

copy of this document via electronic mail.



                                                   /s/ Reza Mirzaie_______
                                                   Reza Mirzaie




                                        13
                                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG

                FIRST AMENDED EXHIBIT A: P.R. 3-1(C) CHART FOR U.S. PATENT NO. 6,072,450

Plaintiff Solas OLED Ltd. (Solas) provides this chart based upon information that is presently available to it. Solas has not had access to Samsung’s confi-
dential design documents or to other materials that may become available during discovery. Solas reserves the right to change or provide more detail to the
infringement theories set forth below, based upon information that it learns during this case, subject to the Court’s rules and orders.

Definitions:

The term ’450 Accused Instrumentalities is defined in Section I.B.1 of Plaintiff Solas OLED Limited’s Disclosure of Asserted Claims
and Infringement Contentions.

               Claim Element                                                           ’450 Accused Instrumentalities

1. A display apparatus comprising:               To the extent the preamble is deemed limiting, the ’450 Accused Instrumentalities comprise
                                                 a display apparatus. For example, the Samsung Galaxy S8 contains an OLED display panel:




                                                                             1
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’450 Accused Instrumentalities

[1a] a substrate;                           The ’450 Accused Instrumentalities comprise a substrate. For example, the Samsung Galaxy
                                            S8 contains a polyimide substrate:



                                                                substrate




                                                                    2
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’450 Accused Instrumentalities

[1b] active elements formed over said      The ’450 Accused Instrumentalities comprise active elements formed over said substrate and
substrate and driven by an externally      driven by an externally supplied signal. For example, the Samsung Galaxy S8 contains active
supplied signal;                           elements formed over the substrate:




                                                                                                             active element
                                                                                                                  (M1)




                                                                                                                   substrate




                                                                   3
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                   ’450 Accused Instrumentalities

                               These active elements are driven by an externally supplied signal, labeled “Data” below:




                                                       4
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’450 Accused Instrumentalities

[1c] an insulation film formed over said    The ’450 Accused Instrumentalities comprise an insulation film formed over said substrate
substrate so as to cover said active ele-   so as to cover said active elements, said insulation having at least one contact hole. For ex-
ments, said insulation having at least      ample, in the Samsung Galaxy S8, an insulation film is formed over the substrate, covers the
one contact hole;                           active elements, and has contact holes:




                                                                             contact hole
                                                         insulation film




                                                                                                                active element




                                                                substrate




                                                                       5
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                     ’450 Accused Instrumentalities

[1d] at least one first electrode formed    The ’450 Accused Instrumentalities comprise at least one first electrode formed on said insu-
on said insulation film so as to cover      lation film so as to cover said active elements, and connected to said active elements through
said active elements, and connected to      said at least one contact hole, said at least one first electrode being made of a material which
said active elements through said at        shields visible light. For example, in the Samsung Galaxy S8, an electrode is formed on the
least one contact hole, said at least one   insulation film, covers active elements, and is connected to active elements through contact
first electrode being made of a material    holes:
which shields visible light;




                                                                                                                           first elec-
                                                                                                                         trode (anode)
                                                         insulation film




                                                                                                            active element
                                                                                                                 (M1)




                                            This electrode is formed of silver, which shields visible light.




                                                                       6
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                    ’450 Accused Instrumentalities

[1e] an organic electroluminescent            The ’450 Accused Instrumentalities comprise an organic electroluminescent layer having an
layer having an organic electrolumines-       organic electroluminescent material formed on said at least one first electrode so as to cover
cent material formed on said at least         said active elements and including at least one layer which emits light in accordance with a
one first electrode so as to cover said ac-   voltage applied to said at least one layer. For example, in the Samsung Galaxy S8, a layer of
tive elements and including at least one      organic electroluminescent material is formed on the electrode, and covers active elements:
layer which emits light in accordance
with a voltage applied to said at least
one layer; and




                                                                      7
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                      ’450 Accused Instrumentalities

                               This organic electroluminescent layer emits in accordance with a voltage applied to the layer
                               using the OLED cathode and anode:




                                                                               organic electrolumines-
                                                                                     cent layer




                                                     first elec-
                                                   trode (anode)




                                                       8
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’450 Accused Instrumentalities

[1f] at least one second electrode          The ’450 Accused Instrumentalities comprise at least one second electrode formed on said
formed on said organic electrolumines-      organic electroluminescent layer which covers said active elements. For example, in the Sam-
cent layer which covers said active ele-    sung Galaxy S8, a second electrode is formed on the organic electroluminescent layer:
ments.




                                                                                                              second electrode
                                                                                                                 (cathode)




                                                                        organic electroluminescent
                                                                                   layer




                                                                    9
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                        ’450 Accused Instrumentalities

4. The display apparatus according to        The ’450 Accused Instrumentalities comprise a display apparatus according to claim 1,
claim 1, wherein said active elements        wherein said active elements are a selection transistor which is turned on in response to an
are a selection transistor which is turned   externally supplied address signal corresponding to image data supplied externally through
on in response to an externally supplied     said selection transistor while said selection transistor is on, for controlling a voltage to be
address signal and a drive transistor,       applied to said organic electroluminescent layer, said selection transistor and said drive tran-
which is driven by a signal correspond-      sistor forming a pair. For example, in the Samsung Galaxy S8, the active elements include a
ing to image data supplied externally        selection transistor (see, for example, labels 7 and 9 below) and a drive transistor (see, for
through said selection transistor while      example, label 1 below):
said selection transistor is on, for con-
trolling a voltage to be applied to said
organic electroluminescent layer, said                                                              Vinit
                                                                           Scan
selection transistor and said drive tran-
sistor forming a pair.                                                     Vinit
                                                                                                   Anode Vdd

                                                                           En



                                                                          Scan

                                                                                                    Vinit      Data
                                                                          Scan-1

                                                                           Vinit




                                             The selection transistor shown above is turned on in response to an externally supplied ad-
                                             dress signal (see, for example, label “Scan” above). The drive transistor is driven by a signal
                                             corresponding to image data supplied externally (see, for example, label “Data” above). As
                                             shown above, the selection transistor and drive transistor form a pair.




                                                                     10
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                        ’450 Accused Instrumentalities

                                            To the extent that Samsung contends elements labeled 7 and/or 9 in the image above do
                                            not literally satisfy the “selection transistor” element, that element is present under the doc-
                                            trine of equivalents. To the extent that Samsung contends the element “said active elements
                                            are . . .” is not literally present in the accused products, that element is present under the
                                            doctrine of equivalents.

5. The display apparatus according to       In the ’450 Accused Instrumentalities, the at least one first electrode is connected to said drive
claim 4, wherein said at least one first    transistor through said at least one contact hole. For example, in the Samsung Galaxy S8,
electrode is connected to said drive        the first electrode is connected to the drive transistor (see, for example, label 1 below) through
transistor through said at least one con-   a contact hole (see, for example, label “anode” below):
tact hole.

                                                                                                   Vinit
                                                                          Scan
                                                                          Vinit
                                                                                                  Anode Vdd
                                                                          En



                                                                         Scan

                                                                                                   Vinit      Data
                                                                         Scan-1
                                                                          Vinit




                                                                    11
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                      ’450 Accused Instrumentalities

6. The display apparatus according to         In the ’450 Accused Instrumentalities, the display apparatus further comprises a capacitor
claim 4, wherein: said display apparatus      for retaining the signal corresponding to the image data externally supplied through said
further comprises a capacitor for retain-     selection transistor while said selection transistor is on; and while said selection transistor is
ing the signal corresponding to the im-       off, said drive transistor is driven by the signal retained in said capacitor. For example, in the
age data externally supplied through          Samsung Galaxy S8, the display apparatus contains a capacitor (label, for example, below)
said selection transistor while said selec-   retaining the signal corresponding to the image data while the selection transistor is on, and
tion transistor is on; and while said se-     while the selection transistor is off, the drive transistor is driven by the signal retained in the
lection transistor is off, said drive tran-   capacitor:
sistor is driven by the signal retained in
said capacitor.




                                                                                 contact hole
                                                           insulation film




                                                                                                                   active element




                                                                  substrate




                                                                        12
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’450 Accused Instrumentalities

8. The display apparatus according to      The ’450 Accused Instrumentalities comprise a display apparatus according to claim 1,
claim 1, wherein a constant voltage is     wherein a constant voltage is applied to said second electrode. For example, in the Samsung
applied to said second electrode.          Galaxy S8, a constant voltage is applied to said second electrode:




                                                                                                             second electrode
                                                                                                                (cathode)




                                                                       organic electroluminescent
                                                                                  layer




                                                                  13
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


12. The display apparatus according to       In the ’450 Accused Instrumentalities, the display apparatus further comprises at least one
claim 1, wherein: said display apparatus     filter formed above said at least one second electrode; and light lays in a first wavelength
further comprises at least one filter        range pass through said at least one filter selectively when incident light rays in a second
formed above said at least one second        wavelength range including said first wavelength range enter said at least one filter. On in-
electrode; and light rays in a first wave-   formation and belief, one or more of the ’450 Accused Instrumentalities contain a red, green,
length range pass through said at least      and blue color filter positioned above the cathode for each respective sub-pixel, selectively
one filter selectively when incident light   permitting light rays in red, green, and blue wavelength ranges respectively pass through each
rays in a second wavelength range in-        filter.
cluding said first wavelength range en-
ter said at least one filter.                As an example, in the Galaxy S6, a color filter layer comprising RGB filters are disposed over
                                             the OLED emitter layer, where each RGB sub-pixel is associated with a respective RGB
                                             color filter as shown below:

                                              RGB filter                                     OLED level (RGB filter removed)




                                             As another example, in the Galaxy S7 edge, an organic overcoat layer (which provides RGB
                                             spectrum filtering) is disposed over the OLED emitter layer, where each RGB sub-pixel is
                                             associated with a respective RGB color filter as shown below:

                                              Organic overcoat layer                         OLED level (overcoat layer removed)



                                                                    14
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                   ’450 Accused Instrumentalities




13. The display apparatus according to       In the ’450 Accused Instrumentalities, the filters include a red filter which makes light in a
claim 12, wherein said at least one filter   red wavelength range pass through, a green filter which makes light in a green wavelength
has a red filter which makes light in a      range pass through, and a blue filter which makes light in a blue wavelength range pass
red wavelength range pass through, a         through. On information and belief, one or more of the ’450 Accused Instrumentalities con-
green filter which makes light in a green    tain a red, green, and blue color filter positioned above the cathode for each respective sub-
wavelength range pass through, and a         pixel, selectively permitting light rays in red, green, and blue wavelength ranges respectively
blue filter which makes light in a blue      pass through each filter.
wavelength range pass through.




                                                                    15
Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


               As an example, in the Galaxy S6, a color filter layer comprising RGB filters are disposed over
               the OLED emitter layer, where each RGB sub-pixel is associated with a respective RGB
               color filter as shown below:

                RGB filter                                     OLED level (RGB filter removed)




               As another example, in the Galaxy S7 edge, an organic overcoat layer (which provides RGB
               spectrum filtering) is disposed over the OLED emitter layer, where each RGB sub-pixel is
               associated with a respective RGB color filter as shown below:

                Organic overcoat layer                         OLED level (overcoat layer removed)




                                      16
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’450 Accused Instrumentalities

15. A display apparatus comprising:        To the extent the preamble is deemed limiting, the ’450 Accused Instrumentalities comprise
                                           a display apparatus. For example, the Samsung Galaxy S8 contains an OLED display panel:




                                                                  17
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’450 Accused Instrumentalities

[15a] a substrate;                          The ’450 Accused Instrumentalities comprise a substrate. For example, the Samsung Galaxy
                                            S8 contains a polyimide substrate:



                                                                substrate




                                                                    18
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’450 Accused Instrumentalities

[15b] selection transistors formed over     The ’450 Accused Instrumentalities comprise selection transistors formed over said substrate
said substrate and arranged in a matrix     and arranged in a matrix pattern. For example, the Samsung Galaxy S8 contains active ele-
pattern;                                    ments formed over the substrate:




                                                                                                              active element
                                                                                                                   (M1)




                                                                                                                    substrate




                                                                   19
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                        ’450 Accused Instrumentalities


                               The active elements include selection transistors (see, for example, labels 7 and 9 below):


                                                                                      Vinit
                                                             Scan
                                                             Vinit
                                                                                     Anode Vdd
                                                             En



                                                            Scan

                                                                                      Vinit      Data
                                                            Scan-1

                                                             Vinit




                               As shown above the selection transistors corresponding to the various pixels are arranged in
                               a matrix pattern.

                               To the extent that Samsung contends elements labeled 7 and/or 9 in the image above do not
                               literally satisfy the “selection transistors . . . arranged in a matrix pattern” element, that ele-
                               ment is present under the doctrine of equivalents.




                                                       20
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                        ’450 Accused Instrumentalities

[15c] drive transistors formed over said     The ’450 Accused Instrumentalities comprise drive transistors formed over said substrate and
substrate and arranged in a matrix pat-      arranged in a matrix pattern, each of said drive transistors being connected to one of said
tern, each of said drive transistors being   selection transistors. For example, in the Samsung Galaxy S8, the active elements include
connected to one of said selection tran-     drive transistors (see, for example, label 1 below):
sistors;

                                                                                                    Vinit
                                                                           Scan
                                                                           Vinit
                                                                                                   Anode Vdd
                                                                           En



                                                                          Scan

                                                                                                    Vinit      Data
                                                                          Scan-1
                                                                           Vinit




                                             As shown above the drive transistors corresponding to the various pixels are arranged in a
                                             matrix pattern. Each drive transistor (see label 1) is connected to a selection transistor (see
                                             labels 7 and/or 9).




                                                                     21
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                        ’450 Accused Instrumentalities

[15d] address lines connected to said se-    The ’450 Accused Instrumentalities comprise address lines connected to said selection tran-
lection transistors and through which a      sistors and through which a signal for turning on said selection transistors is supplied. For
signal for turning on said selection tran-   example, in the Samsung Galaxy S8, address lines (see, for example, the “Scan” line below)
sistors is supplied;                         are connected to the selection transistors and carry a signal for turning on the selection tran-
                                             sistors:


                                                                                                    Vinit
                                                                           Scan
                                                                           Vinit
                                                                                                   Anode Vdd

                                                                           En



                                                                          Scan

                                                                                                    Vinit      Data
                                                                          Scan-1
                                                                           Vinit




                                                                     22
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                    ’450 Accused Instrumentalities

[15e] data lines connected to said selec-    The ’450 Accused Instrumentalities comprise data lines connected to said selection transis-
tion transistors, a signal which corre-      tors, a signal which corresponds to image data being supplied to said drive transistors through
sponds to image data being supplied to       said data lines and said selection transistors while said selection transistors are on. For exam-
said drive transistors through said data     ple, the Samsung Galaxy S8 contains data lines such as that labeled “Data” below:
lines and said selection transistors while
said selection transistors are on;




                                                                     23
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                       ’450 Accused Instrumentalities

                               A signal which corresponds to image data is supplied to the drive transistors (see label 1)
                               through the data lines and the selection transistors (see labels 7 and 9) while said selection
                               transistors are on:


                                                                                     Vinit
                                                            Scan
                                                            Vinit
                                                                                    Anode Vdd
                                                            En



                                                           Scan

                                                                                     Vinit      Data
                                                           Scan-1

                                                            Vinit




                                                      24
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                     ’450 Accused Instrumentalities

[15f] an insulation film formed over        The ’450 Accused Instrumentalities comprise an insulation film formed over said substrate
said substrate so as to cover said drive    so as to cover said drive transistors, said address lines and said data lines, said insulation film
transistors, said address lines and said    having contact holes formed in correspondence with said drive transistors. For example, in
data lines, said insulation film having     the Samsung Galaxy S8, an insulation film is formed over the substrate, covers the drive
contact holes formed in correspondence      transistors, address lines, and data lines, and has contact holes in correspondence with the
with said drive transistors;                drive transistors (see label M1):




                                                                               contact hole
                                                         insulation film




                                                                                                                 active element




                                                                substrate




                                                                      25
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                       ’450 Accused Instrumentalities

[15g] first electrodes made of a material      The ’450 Accused Instrumentalities comprise first electrodes made of a material which shields
which shields visible light, and formed        visible light, and formed on said insulation film so as to cover said selection transistors and
on said insulation film so as to cover         said drive transistors, said first electrodes being arranged in a matrix pattern in areas sur-
said selection transistors and said drive      rounded by said address lines and said data lines, and being connected to said drive transistors
transistors, said first electrodes being ar-   through said contact holes. For example, in the Samsung Galaxy S8, an electrode is formed
ranged in a matrix pattern in areas sur-       on the insulation film, covers selection transistors and drive transistors, and is connected to
rounded by said address lines and said         active elements through contact holes:
data lines, and being connected to said
drive transistors
through said contact holes;



                                                                                                                              first elec-
                                                                                                                            trode (anode)
                                                            insulation film




                                                                                                               active element
                                                                                                                    (M1)




                                               This electrode is formed of silver, which shields visible light.




                                                                         26
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                   ’450 Accused Instrumentalities

                               The first electrodes are arranged in a matrix pattern in areas surrounded by the address lines
                               and the data lines:




                                                      27
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                    ’450 Accused Instrumentalities

[15h] an organic electroluminescent         The ’450 Accused Instrumentalities comprise an organic electroluminescent layer formed on
layer formed on said first electrodes       said first electrodes which covers said selection transistors and said drive transistors and in-
which covers said selection transistors     cluding at least one layer which emits light in accordance with an applied voltage. For exam-
and said drive transistors and including    ple, in the Samsung Galaxy S8, a layer of organic electroluminescent material is formed on
at least one layer which emits light in     the electrode, and covers selection transistors and drive transistors:
accordance with an applied voltage;




                                                                    28
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                      ’450 Accused Instrumentalities

                               This organic electroluminescent layer emits in accordance with a voltage applied to the layer
                               using the OLED cathode and anode:




                                                                               organic electrolumines-
                                                                                     cent layer




                                                     first elec-
                                                   trode (anode)




                                                       29
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                   ’450 Accused Instrumentalities

[15i] a second electrode formed on said      The ’450 Accused Instrumentalities comprise a second electrode formed on said organic elec-
organic electroluminescent layer which       troluminescent layer which covers said selection transistors and said drive transistors. For
covers said selection transistors and said   example, in the Samsung Galaxy S8, a second electrode is formed on the organic electrolu-
drive transistors;                           minescent layer covers selection transistors and drive transistors:




                                                                                                               second electrode
                                                                                                                  (cathode)




                                                                         organic electroluminescent
                                                                                    layer




                                                                    30
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


              Claim Element                                                          ’450 Accused Instrumentalities

[15j] a first driver circuit for selectively   The ’450 Accused Instrumentalities comprise a first driver circuit for selectively supplying
supplying said address signal to said ad-      said address signal to said address lines in sequence. For example, in the Samsung Galaxy
dress lines in sequence; and                   S8, the selection transistors are turned on in response to externally supplied address signals,
                                               such as lines “Scan-1” and “Scan” shown below:


                                                                                                      Vinit
                                                                             Scan
                                                                             Vinit
                                                                                                     Anode Vdd
                                                                             En



                                                                            Scan

                                                                                                      Vinit      Data
                                                                            Scan-1
                                                                             Vinit




                                               A driver circuit selectively supplies an address signal to these address lines in sequence, e.g.,
                                               “Scan-1” followed by “Scan.”




                                                                       31
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                    ’450 Accused Instrumentalities

[15k] a second driver circuit for supply-   The ’450 Accused Instrumentalities comprise a second driver circuit for supplying said image
ing said image data to said data lines.     data to said data lines. For example, the Samsung Galaxy S8 contains data lines such as that
                                            labeled “Data” below:




                                            A driver circuit drives the data lines with electrical signals containing the image data.




                                                                    32
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’450 Accused Instrumentalities

16. The display apparatus according to      The ’450 Accused Instrumentalities comprise a display apparatus according to claim 15,
claim 15, wherein a constant voltage is     wherein a constant voltage is applied to said second electrode. For example, in the Samsung
applied to said second electrode.           Galaxy S8 a constant voltage is applied to said second electrode:




                                                                                                              second electrode
                                                                                                                 (cathode)




                                                                        organic electroluminescent
                                                                                   layer




                                                                   33
                                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG

                 FIRST AMENDED EXHIBIT B: P.R. 3-1(C) CHART FOR U.S. PATENT NO. 7,446,338

Plaintiff Solas OLED Ltd. (Solas) provides this chart based upon information that is presently available to it. Solas has not had access to Samsung’s confi-
dential design documents or to other materials that may become available during discovery. Solas reserves the right to change or provide more detail to the
infringement theories set forth below, based upon information that it learns during this case, subject to the Court’s rules and orders.

Definitions:

The term ’338 Accused Instrumentalities is defined in Section I.B.2 of Plaintiff Solas OLED Limited’s Disclosure of Asserted Claims
and Infringement Contentions.

               Claim Element                                                         ’338 Accused Instrumentalities

1. A display panel comprising:                 To the extent the preamble is deemed limiting, the ’338 Accused Instrumentalities comprise
                                               a display panel. For example, the Samsung Galaxy S8 contains an OLED display panel:




                                                                             1
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                        ’338 Accused Instrumentalities

[1a] a transistor array substrate which   The ’338 Accused Instrumentalities comprise a transistor array substrate which includes a
includes a plurality of pixels and com-   plurality of pixels and comprises a plurality of transistors for each pixel, each of the transistors
prises a plurality of transistors for     including a gate, a gate insulating film, a source, and a drain. For example, the Samsung
each pixel, each of the transistors in-   Galaxy S8 contains a transistor array substrate:
cluding a gate, a gate insulating film,
a source, and a drain;




                                                          transistor M1
                                                         (cross-section
                                                              view)




                                                                              transistor array substrate




                                                                          2
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                   ’338 Accused Instrumentalities

                             The transistor array substrate includes a plurality of pixels and comprises a plurality of tran-
                             sistors for each pixel, each of the transistors including a gate, a gate insulating film, a source,
                             and a drain:




                                                                                 transistor
                                                                 drain




                                                                         2   3    4
                                                                                  source




                                                        3
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’338 Accused Instrumentalities

[1b] a plurality of interconnections     The ’338 Accused Instrumentalities comprise a plurality of interconnections which are
which are formed to project from a       formed to project from a surface of the transistor array substrate, and which are arrayed in
surface of the transistor array sub-     parallel to each other. For example, the Samsung Galaxy S8 contains a plurality of intercon-
strate, and which are arrayed in par-    nections which are formed to project from a surface of the transistor array substrate:
allel to each other;




                                                                                                      interconnection




                                                                   4
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                 ’338 Accused Instrumentalities

                             These interconnections are arrayed in parallel to each other:




                             To the extent that Samsung contends that the limitation “arrayed in parallel to each other”
                             is not literally present, this limitation is present under the doctrine of equivalents.




                                                       5
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’338 Accused Instrumentalities

[1c] a plurality of pixel electrodes for   The ’338 Accused Instrumentalities comprise a plurality of pixel electrodes for the plurality
the plurality of pixels, respectively,     of pixels, respectively, the pixel electrodes being arrayed along the interconnections between
the pixel electrodes being arrayed         the interconnections on the surface of the transistor array substrate. For example, the Sam-
along the interconnections between         sung Galaxy S8 contains a plurality of pixel electrodes (in dashed yellow outlines below) for
the interconnections on the surface of     the plurality of pixels, respectively, the pixel electrodes being arrayed along the interconnec-
the transistor array substrate;            tions between the interconnections on the surface of the transistor array substrate:




                                                                     6
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’338 Accused Instrumentalities

[1d] a plurality of light-emitting layers   The ’338 Accused Instrumentalities comprise a plurality of light-emitting layers formed on
formed on the pixel electrodes, re-         the pixel electrodes, respectively. For example, the Samsung Galaxy S8 contains a plurality
spectively; and                             of light-emitting layers (highlighted in green below) formed on the pixel electrodes (“OLED
                                            anode” below), respectively:




                                                                      7
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’338 Accused Instrumentalities

[1e] a counter electrode which is        The ’338 Accused Instrumentalities comprise a counter electrode which is stacked on the
stacked on the light-emitting layers,    light-emitting layers. For example, the Samsung Galaxy S8 contains a counter electrode
                                         (“OLED cathode” below) which is stacked on the light-emitting layers:




                                                                   8
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’338 Accused Instrumentalities

[1f] wherein said plurality of transis-   In the ’338 Accused Instrumentalities, the plurality of transistors for each pixel include a
tors for each pixel include a driving     driving transistor, one of the source and the drain of which is connected to the pixel electrode,
transistor, one of the source and the     a switch transistor which makes a write current flow between the drain and the source of the
drain of which is connected to the        driving transistor, and a holding transistor which holds a voltage between the gate and source
pixel electrode, a switch transistor      of the driving transistor in a light emission period. For example, in the Samsung Galaxy S8,
which makes a write current flow be-      the plurality of transistors for each pixel includes a driving transistor, the drain of which is
tween the drain and the source of the     connected to the pixel electrode:
driving transistor, and a holding tran-
sistor which holds a voltage between
the gate and source of the driving
transistor in a light emission period.                                                       pixel electrode
                                                                                                contact
                                                                         connected




                                                                                             1

                                                                                     drain
                                                                                                  driving transistor




                                                                     9
Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             The plurality of transistors includes a switch transistor which makes a write current flow be-
             tween the drain and the source of the driving transistor:




                                           driving transistor




                                                                8



                                                                    switch transistor




                                      10
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                 ’338 Accused Instrumentalities

                             The plurality of transistors includes a holding transistor which holds a voltage between the
                             gate and source of the driving transistor in a light emission period:




                                                              driving transistor




                                                                            7
                                                                                9




                                                                                    holding transistor




                                                      11
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                  ’338 Accused Instrumentalities

5. A panel according to claim 1,          The ’338 Accused Instrumentalities comprise a plurality of pixels that includes a red pixel, a
wherein said plurality of pixels in-      green pixel, and a blue pixel. For example, the Samsung Galaxy S8 contains red, green, and
clude a red pixel, a green pixel, and a   blue pixels, labelled by boxes with corresponding colors in the image below:
blue pixel.




                                                                   12
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                   ’338 Accused Instrumentalities

6. A panel according to claim 5,            In the ’338 Accused Instrumentalities, plurality of pixels comprises a plurality of sets each
wherein said plurality of pixels com-       including the red pixel, the green pixel, and the blue pixel arrayed in an arbitrary order. For
prises a plurality of sets each including   example, the Samsung Galaxy S8 contains red, green, and blue pixels, labelled by boxes with
the red pixel, the green pixel, and the     corresponding colors in the image below:
blue pixel arrayed in an arbitrary or-
der.




                                            The pixels within the yellow dashed line are an example of one of the plurality of sets of
                                            pixels, and the order of pixels in each set is arbitrary.



                                                                     13
CONTAINS CONFIDENTIAL INFORMATION - RESTRICTED - ATTORNEYS' EYES ONLY

                                    Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


                   Claim Element                                                  ’338 Accused Instrumentalities

      9. A panel according to claim 1,           On information and belief, at least one of the interconnections in each of the ’338 Accused
      wherein at least one of the intercon-      Instrumentalities has a resistivity of 2.1 to 9.6 μΩcm.
      nections has a resistivity of 2.1 to 9.6
      μΩcm.                                      For example, the interconnections in the Samsung Galaxy S8 Accused Instrumentality are
                                                 made of layers of ITO (70 ansgstroms), silver (850 angstroms), and ITO (50 angtroms) and
                                                 have a sheet resistance of 0.35 ohms per square, which denotes a resistivity that falls within
                                                 the 2.1 to 9.6 μΩcm range. See, e.g., SDC0187911.



      10. A panel according to claim 1,          In the ’338 Accused Instrumentalities, said plurality of interconnections are formed from a
      wherein said plurality of interconnec-     conductive layer that is different from a layer forming the source and the drain of each of the
      tions are formed from a conductive         transistors and a layer forming the gate of the transistors. For example, the Samsung Galaxy
      layer that is different from a layer       S8 contains interconnections formed from a conductive layer:
      forming the source and the drain of
      each of the transistors and a layer
      forming the gate of the transistors.




                                                                          14

CONTAINS CONFIDENTIAL INFORMATION - RESTRICTED - ATTORNEYS' EYES ONLY
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                 ’338 Accused Instrumentalities




                             The source and drain of each of the transistors is formed in a different layer:




                                                      15
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                  ’338 Accused Instrumentalities




                                                                                 transistor
                                                                 drain




                                                                         2   3    4
                                                                                  source




                             The gates of the transistors are also formed in a different layer:




                                                       16
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                 ’338 Accused Instrumentalities

                                                                                     Poly level
                                           Mo2 level


                                                                       transistor




                                                                   gate
                                                               2   3    4




                                                      17
                                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG

                               EXHIBIT C: P.R. 3-1(C) CHART FOR U.S. PATENT NO. 9,256,311

Plaintiff Solas OLED Ltd. (Solas) provides this chart based upon information that is presently available to it. Solas has not had access to Samsung’s confi-
dential design documents or to other materials that may become available during discovery. Solas reserves the right to change or provide more detail to the
infringement theories set forth below, based upon information that it learns during this case, subject to the Court’s rules and orders.

Definitions:

The term ’311 Accused Instrumentalities is defined in Section I.B.3 of Plaintiff Solas OLED Limited’s Disclosure of Asserted Claims
and Infringement Contentions.

               Claim Element                                                              ’311 Accused Instrumentalities

1. An apparatus comprising:                    To the extent the preamble is deemed limiting, the ’311 Accused Instrumentalities are or
                                               contain an apparatus comprising the elements of claim 1, for example as set forth below.

[1a] a substantially flexible substrate;       The ’311 Accused Instrumentalities comprise a substantially flexible substrate. For example,
and                                            the Samsung Galaxy S9 contains a flexible Organic Light Emitting Diode (OLED) panel that
                                               includes a substantially flexible substrate:




                                                                                   Top Glass



                                                                                    OCA
                                                                                  Polarizer




                                                                                 Touch Sensor


                                                                                 OLED Layers
                                                                                                                               flexible substrate




                                                                             1
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’311 Accused Instrumentalities

[1b] a touch sensor disposed on the      The ’311 Accused Instrumentalities comprise a touch sensor disposed on the substantially
substantially flexible substrate, the    flexible substrate, the touch sensor comprising drive or sense electrodes made of flexible con-
touch sensor comprising drive or         ductive material configured to bend with the substantially flexible substrate. For example,
sense electrodes made of flexible con-   the Samsung Galaxy S9 contains a touch sensor layered on top of the flexible OLED panel.
ductive material configured to bend      The touch sensor includes drive or sense electrodes (the mesh grid illustrated below) made
with the substantially flexible sub-     from flexible, conductive metal, configured to bend with the flexible OLED panel:
strate,




                                                                   2
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                  ’311 Accused Instrumentalities

[1c] wherein: the flexible conductive     In the ’311 Accused Instrumentalities, the flexible conductive material of the drive or sense
material of the drive or sense elec-      electrodes comprises first and second conductive lines that electrically contact one another at
trodes comprises first and second con-    an intersection to form a mesh grid. For example, in the Samsung Galaxy S9 the drive or
ductive lines that electrically contact   sense electrodes are made from flexible metal mesh. This flexible metal mesh includes
one another at an intersection to form    conductive metal lines that physically intersect (and thus electrically contact) to form a mesh
a mesh grid; and                          grid:




                                                                    3
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’311 Accused Instrumentalities

[1d] the substantially flexible sub-      In the ’311 Accused Instrumentalities, the substantially flexible substrate and the touch sensor
strate and the touch sensor are config-   are configured to wrap around one or more edges of a display. For example, in the Samsung
ured to wrap around one or more           Galaxy S9 the flexible metal touch sensor layer and the flexible OLED panel substrate wrap
edges of a display.                       around the edge of the phone display:




                                                                    4
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’311 Accused Instrumentalities

2. The apparatus of claim 1, wherein     In the ’311 Accused Instrumentalities, the touch sensor further comprises tracking disposed
the touch sensor further comprises       on the substantially flexible substrate configured to provide drive or sense connections to or
tracking disposed on the substantially   from the drive or sense electrodes and configured to bend with the substantially flexible sub-
flexible substrate configured to pro-    strate. For example, the Samsung Galaxy S9 contains tracking disposed on the substantially
vide drive or sense connections to or    flexible substrate, which provides drive or sense connections to or from the drive or sense
from the drive or sense electrodes and   electrodes:
configured to bend with the substan-
tially flexible substrate.                                   tracking




                                                                   connections




                                                                                                       drive or sense electrodes




                                                                    5
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                    ’311 Accused Instrumentalities

4. The apparatus of claim 1, wherein         In the ’311 Accused Instrumentalities, the touch sensor comprises a single-layer configuration
the touch sensor comprises:                  with drive and sense electrodes disposed only on a first surface of the substantially flexible
a single-layer configuration with drive      substrate; or a two-layer configuration with drive electrodes disposed on the first surface of
and sense electrodes disposed only on        the substantially flexible substrate and sense electrodes disposed on a second surface of the
a first surface of the substantially flex-   substrate opposite the first surface. For example, the Samsung Galaxy S9 comprises a single-
ible substrate; or                           layer configuration with drive and sense electrodes disposed only on a first surface of the
a two-layer configuration with drive         substantially flexible substrate:
electrodes disposed on the first surface
of the substantially flexible substrate
and sense electrodes disposed on a
second surface of the substrate oppo-
site the first surface.




                                                                       6
                           Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


           Claim Element                                                 ’311 Accused Instrumentalities

5. The apparatus of claim 1, wherein    In the ’311 Accused Instrumentalities, the touch sensor is a mutual-capacitance touch sensor
the touch sensor is a mutual-capaci-    or a self-capacitance touch sensor. For example, the Samsung Galaxy S9 comprises a mutual-
tance touch sensor or a self-capaci-    capacitance touch sensor:
tance touch sensor.




                                                                  7
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’311 Accused Instrumentalities

6. The apparatus of claim 1, wherein     In the ’311 Accused Instrumentalities, the touch sensor further comprises electrically-isolated
the touch sensor further comprises       structures made of conductive material comprising a conductive mesh. For example, in the
electrically-isolated structures made    Samsung Galaxy S9 the drive or sense electrodes are made from flexible metal mesh. This
of conductive material comprising a      flexible metal mesh includes electrically-isolated conductive metal lines that physically
conductive mesh.                         intersect (and thus electrically contact) to form a mesh grid:




7. A device comprising:                  To the extent the preamble is deemed limiting, the ’311 Accused Instrumentalities are or
                                         contain a device comprising the elements of claim 1, for example as set forth below.




                                                                   8
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                         ’311 Accused Instrumentalities

[7a] a substantially flexible substrate;   The ’311 Accused Instrumentalities comprise a substantially flexible substrate. For example,
                                           the Samsung Galaxy S9 contains a flexible Organic Light Emitting Diode (OLED) panel that
                                           includes a substantially flexible substrate:




                                                                      Top Glass



                                                                       OCA
                                                                     Polarizer




                                                                    Touch Sensor


                                                                    OLED Layers
                                                                                                                    flexible substrate




                                                                     9
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’311 Accused Instrumentalities

[7b] a touch sensor disposed on the      The ’311 Accused Instrumentalities comprise a touch sensor disposed on the substantially
substantially flexible substrate, the    flexible substrate, the touch sensor comprising a plurality of capacitive nodes formed from
touch sensor comprising a plurality of   drive or sense electrodes made of flexible conductive material configured to bend with the
capacitive nodes formed from drive or    substantially flexible substrate. For example, the Samsung Galaxy S9 contains a touch sensor
sense electrodes made of flexible con-   layered on top of the flexible OLED panel. The touch sensor includes drive or sense
ductive material configured to bend      electrodes (the mesh grid illustrated below) made from flexible, conductive metal, configured
with the substantially flexible sub-     to bend with the flexible OLED panel:
strate,




                                                                  10
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                  ’311 Accused Instrumentalities

[7c] wherein: the flexible conductive     In the ’311 Accused Instrumentalitie,s the flexible conductive material of the drive or sense
material of the drive or sense elec-      electrodes comprises first and second conductive lines that electrically contact one another at
trodes comprises first and second con-    an intersection to form a mesh grid. For example, in the Samsung Galaxy S9 the drive or
ductive lines that electrically contact   sense electrodes are made from flexible metal mesh. This flexible metal mesh includes
one another at an intersection to form    conductive metal lines that physically intersect (and thus electrically contact) to form a mesh
a mesh grid;                              grid:




                                                                   11
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                   ’311 Accused Instrumentalities

[7d] the substantially flexible sub-      In the ’311 Accused Instrumentalities, the substantially flexible substrate and the touch sensor
strate and the touch sensor are config-   are configured to wrap around one or more edges of a display. For example, in the Samsung
ured to wrap around one or more           Galaxy S9 the flexible metal touch sensor layer and the flexible OLED panel substrate wrap
edges of a display; and                   around the edge of the phone display:




                                                                    12
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’311 Accused Instrumentalities

[7e] one or more computer-readable       The ’311 Accused Instrumentalities comprise one or more computer-readable non-transitory
non-transitory storage media embod-      storage media embodying logic that is configured when executed to control the touch sensor.
ying logic that is configured when ex-   For example, the Samsung Galaxy S9 contains internal flash storage:
ecuted to control the touch sensor.




                                         On information and belief, logic that is configured when executed to control the touch sen-
                                         sor is stored in the ’311 Accused Instrumentalities on one or more computer-readable non-
                                         transitory storage media, such as this internal flash storage.




                                                                  13
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                  ’311 Accused Instrumentalities

8. The device of claim 7, wherein the     In the ’311 Accused Instrumentalities, the touch sensor further comprises tracking disposed
touch sensor further comprises track-     on the substantially flexible substrate configured to provide drive or sense connections to or
ing disposed on the substantially flex-   from the drive or sense electrodes and configured to bend with the substantially flexible sub-
ible substrate configured to provide      strate. For example, the Samsung Galaxy S9 contains tracking disposed on the substantially
drive or sense connections to or from     flexible substrate, which provides drive or sense connections to or from the drive or sense
the drive or sense electrodes and con-    electrodes:
figured to bend with the substantially
flexible substrate.                              tracking




                                                       connections




                                                                                        drive or sense electrodes




                                                                     14
                               Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                    ’311 Accused Instrumentalities

10. The device of claim 7, wherein           In the ’311 Accused Instrumentalities, the touch sensor comprises a single-layer configuration
the touch sensor comprises:                  with drive and sense electrodes disposed only on a first surface of the substantially flexible
a single-layer configuration with drive      substrate; or a two-layer configuration with drive electrodes disposed on the first surface of
and sense electrodes disposed only on        the substantially flexible substrate and sense electrodes disposed on a second surface of the
a first surface of the substantially flex-   substrate opposite the first surface. For example, the Samsung Galaxy S9 comprises a single-
ible substrate; or                           layer configuration with drive and sense electrodes disposed only on a first surface of the
a two-layer configuration with drive         substantially flexible substrate:
electrodes disposed on the first surface
of the substantially flexible substrate
and sense electrodes disposed on a
second surface of the substrate oppo-
site the first surface.




                                                                      15
                           Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


           Claim Element                                                 ’311 Accused Instrumentalities

11. The device of claim 7, wherein      In the ’311 Accused Instrumentalities, the touch sensor is a mutual-capacitance touch sensor
the touch sensor is a mutual-capaci-    or a self-capacitance touch sensor. For example, the Samsung Galaxy S9 comprises a mutual-
tance touch sensor or a self-capaci-    capacitance touch sensor:
tance touch sensor.




                                                                 16
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’311 Accused Instrumentalities

12. The device of claim 7, wherein       In the ’311 Accused Instrumentalities, the touch sensor further comprises electrically-isolated
the touch sensor further comprises       structures made of conductive material comprising a conductive mesh. For example, in the
electrically-isolated structures made    Samsung Galaxy S9 the drive or sense electrodes are made from flexible metal mesh. This
of conductive material comprising a      flexible metal mesh includes electrically-isolated conductive metal lines that physically
conductive mesh.                         intersect (and thus electrically contact) to form a mesh grid:




                                                                  17
                             Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                  ’311 Accused Instrumentalities

13. The apparatus of claim 1,             In the ’311 Accused Instrumentalities, the first and second conductive lines are substantially
wherein the first and second conduc-      orthogonal to one another. For example, in the Samsung Galaxy S9 the first and second
tive lines are substantially orthogonal   conductive lines are substantially orthogonal to one another:
to one another.




                                                                   18
                           Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


           Claim Element                                                  ’311 Accused Instrumentalities

15. The apparatus of claim 1,           In the ’311 Accused Instrumentalities, the first and second conductive lines are made of fine
wherein the first and second conduc-    lines of metal having a thickness of approximately 5 micrometers or less and a width of ap-
tive lines are made of fine lines of    proximately 10 micrometers or less. For example, in the Samsung Galaxy S9 the first and
metal having a thickness of approxi-    second conductive lines are made of fine lines of metal having a thickness of approximately
mately 5 micrometers or less and a      5 micrometers or less and a width of approximately 10 micrometers or less:
width of approximately 10 microme-
ters or less.
                                                                  first and second con-
                                                                        ductive lines                           thickness < 5um




                                                                                                  scale = 6um




                                                                 19
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                 ’311 Accused Instrumentalities

                                                                 first and second con-
                                                                       ductive lines




                                                                                               width < 10um




                                                                                                   scale = 6um




                                                      20
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                 ’311 Accused Instrumentalities

16. The device of claim 7, wherein       In the ’311 Accused Instrumentalities, the first and second conductive lines are substantially
the first and second conductive lines    orthogonal to one another. For example, in the Samsung Galaxy S9 the first and second
are substantially orthogonal to one      conductive lines are substantially orthogonal to one another:
another.




                                                                  21
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                  ’311 Accused Instrumentalities

18. The device of claim 7, wherein       In the ’311 Accused Instrumentalities, the first and second conductive lines are made of fine
the first and second conductive lines    lines of metal having a thickness of approximately 5 micrometers or less and a width of ap-
are made of fine lines of metal having   proximately 10 micrometers or less. For example, in the Samsung Galaxy S9 the first and
a thickness of approximately 5 mi-       second conductive lines are made of fine lines of metal having a thickness of approximately
crometers or less and a width of ap-     5 micrometers or less and a width of approximately 10 micrometers or less:
proximately 10 micrometers or less.

                                                                   first and second con-
                                                                         ductive lines                           thickness < 5um




                                                                                                   scale = 6um




                                                                  22
                Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


Claim Element                                                  ’311 Accused Instrumentalities

                                                    first and second con-
                                                          ductive lines




                                                                               width < 10um




                                                                                   scale = 6um




                                                      23
                              Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


             Claim Element                                                      ’311 Accused Instrumentalities

19. The apparatus of claim 1, where-       In the ’311 Accused Instrumentalities, the first and second conductive lines of the flexible
in the first and second conductive         conductive material of the drive or sense electrodes is wider at the one or more edges of the
lines of the flexible conductive mate-     display. For example, in the Samsung Galaxy S9, the first and second conductive lines of the
rial of the drive or sense electrodes is   flexible conductive material of the drive or sense electrodes is wider at the one or more edges
wider at the one or more edges of the      of the display, including at the edge shown below:
display.


                                                                                                                 at the edge of the
                                                                                                                       display

                                                      first conductive line
                                                                                               is wider




                                                                                              is wider


                                                                     second conductive line




                                                                        24
                            Solas OLED Ltd. v. Samsung Display Co., Ltd., et al., Case No. 2:19-cv-00152-JRG


            Claim Element                                                     ’311 Accused Instrumentalities

20. The device of claim 7, wherein       In the ’311 Accused Instrumentalities, the first and second conductive lines of the flexible
the first and second conductive lines    conductive material of the drive or sense electrodes is wider at the one or more edges of the
of the flexible conductive material of   display. For example, in the Samsung Galaxy S9, the first and second conductive lines of the
the drive or sense electrodes is wider   flexible conductive material of the drive or sense electrodes is wider at the one or more edges
at the one or more edges of the dis-     of the display, including at the edge shown below:
play.


                                                                                                               at the edge of the
                                                                                                                     display

                                                    first conductive line
                                                                                             is wider




                                                                                            is wider


                                                                   second conductive line




                                                                      25
